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                             THE MARKS LAW FIRM, P.C.

                          Application GRANTED. The conference is ADJOURNED to
                          December 15, 2022, at 4:10 p.m. The conference will be telephonic
                          and will take place on the following line: 888-363-4749; access code
                          558-3333. Plaintiff is directed to the Court's Individual Rules regarding
October 27, 2022          the procedure for seeking a default judgment. In the event that
                          Plaintiff is unable to contact Defendant in advance of this conference,
                          Plaintiff shall file a letter by December 10, 2022, describing his efforts
Filed via ECF             to provide actual notice to Defendant and attaching any supporting
Hon. Lorna G. Schofield documentation regarding his efforts.
United States District Judge
United States Courthouse               Dated: October 31, 2022
40 Foley Square, Courtroom 1106                New York, New York
New York, New York 10007

                              RE:     Young v. Jason Jacques, Inc
                                      Index: 1:22-cv-07544-LGS

Dear Judge Schofield,

       Plaintiff respectfully request a 45 day extension of the telephonic initial conference and
corresponding deadlines from November 2, 2022_to December 17, 2022.

        The reason for the request is that, to date, Defendant has not appeared, answered, moved,
or otherwise contacted Plaintiff, despite Plaintiff’s various attempts in contacting Defendants via
telephone, email and by mail. During this period, Plaintiff will continue to make attempts to
communicate with Defendant. If Defendant fails to answer or appear in this action, by December
17, 2022, our office will move for default. This is the first and last request of its kind.

       We thank the Court for its time and consideration on this matter.


                                                     Respectfully Submitted,

                                                     The Marks Law Firm, P.C.


                                                     By:
                                                       Bradly G. Marks




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